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Morrell, Benjamin S.

From:                            Megan O'Malley <momalley@ompc-law.com>
Sent:                            Tuesday, May 23, 2023 9:14 AM
To:                              Morrell, Benjamin S.; Alex Raynor
Cc:                              Fisher, Ian H.
Subject:                         Re: Lynch v. CCC - amended privilege log



Counsel:

When we spoke last Wednesday, we fully outlined our position in detail to you over our 1 hour long phone
call. We then told you we needed to get a motion on file, as we agreed during the call that we had already
reached impasse on the entries relating to "personnel changes." We told you we would begin preparing that
motion and get a draft to you. We then got you the draft 2 days later, on Friday at 4:15 p.m. The draft
reiterated the position we had already shared with you both verbally and in writing on April 27. There is no
basis whatsoever for you to suggest that you need twice as much time for your portions as we took for ours,
particularly given that we are the moving party requesting relief and that you have been well aware of our
position on this discrete issue for quite some time - which issue has been briefed previously between the
parties.

If you are able to get us your portion by today at 6:30 p.m. (which allows you the exact same amount of time
we took to draft the motion, even after removing the weekend days), that will allow us time to review your
portion and make any needed adjustments and still get it on file tomorrow. We will, of course, expect that
you will cooperate tomorrow during business hours in signing off on the final version so that we can get it
filed, as tomorrow is the last day to notice the motion in order to have it heard by Judge Ellis on Tuesday of
next week.

This is both fair and necessary in order to have the Court hear the dispute in a timely fashion. What is not
"fair" is you withholding documents for years, violating a Court order to produce everything (including a log)
by March 31, filing a false affidavit of completeness, and then demanding that we give you twice as much time
as we took to complete your portion to our motion.

If you have your portion to us by 6:30 p.m. today, we can still file it as joint. If you refuse, we will proceed with
a Plaintiff's filing only.

Also, I do need your confirmation that you will produce the "EL Nov1.docx" document by Friday. If you are
refusing to produce this document, which should have been produced in 2021, we will additionally move for
discovery sanctions. I tried contacting you by telephone, but you were not available and I left a message
inviting you to call me back. Pursuant to Local Rule 37.2, we request that you please confirm - by 6:30 p.m.
today - that you will comply with your long overdue obligation to produce this evidence.

Thank you,

Megan O'Malley
O'Malley & Madden, P.C.
542 S. Dearborn St., Ste. 660
Chicago, Illinois 60605
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phone: 312.697.1382
facsimile: 312.697.1384

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From: Megan O'Malley <momalley@ompc-law.com>
Sent: Monday, May 22, 2023 6:45 PM
To: Morrell, Benjamin S. <BMorrell@taftlaw.com>; Alex Raynor <alex.raynor@ompc-law.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Re: Lynch v. CCC - amended privilege log

Ben,

We revised one paragraph and one footnote. The other revisions were tense changes and the like. The only
reason we had to revise anything is because it took you nearly a month to give us an amended log (after the
initial log was already served belatedly, nearly 3 weeks after you were ordered to provide it). Had you
complied with the Court's deadline of March 31, we could have had a 37.2 conference about the log and those
entries the first week of April, but you didn't. You are the cause of the delay in getting this issue before the
Court.

Thursday is unacceptable. Judge Ellis is not hearing motions the entire month of June, and so it seems will
either be off the bench or tied up in a trial. We need to get this before her as she needs to still rule on the in
camera documents she has had since February, and she may also wish to review the entries from this new
motion in camera and will need to for that as well. We will not be jammed up by you in preparing for Janine
Janosky's deposition. It is already unacceptable that you are still withholding highly relevant documents in the
matter, which - as requested in my earlier email - we expect to be served no later than Friday. Why wasn't the
EL Nov1.docx document produced with your initial production back in 2021? This is a centrally relevant
document that didn't need an ESI search in order for you/your client to discover, as Ms. Panomitros and Ms.
Janosky are fully aware that they prepared these documents in their initial attempts to fire my clients. Frankly,
it seems that both Ms. Panomitros and Ms. Janosky are committing misconduct by not providing their counsel
with documents they know full well are centrally relevant to this matter. This is sanctionable conduct. Perhaps
it is Taft who is withholding the documents? We have been very gracious in providing you with the benefit of
the doubt, but your continued refusals of cooperation do not suggest that the continued revelations of
withheld documents were oversights by either you or your client.

The current motion we intend to file is not a complicated motion and you have known our core position since
April 26, which we put in writing (with legal authority) on April 27. Moreover, we have briefed this exact same
issue in the prior motion. Your continued delays are not acceptable.

We will file the motion as a Plaintiff's motion and note that we gave you the opportunity to participate.

Megan O'Malley
O'Malley & Madden, P.C.
542 S. Dearborn St., Ste. 660
Chicago, Illinois 60605
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phone: 312.697.1382
facsimile: 312.697.1384

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From: Morrell, Benjamin S. <BMorrell@taftlaw.com>
Sent: Monday, May 22, 2023 6:23 PM
To: Megan O'Malley <momalley@ompc-law.com>; Alex Raynor <alex.raynor@ompc-law.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: RE: Lynch v. CCC - amended privilege log

Megan,

We agree that the parties are now at issue under Local Rule 37.2 regarding the revised list of privilege log
entries Alex sent to us earlier this afternoon. We also agree we will need to provide Defendant’s portion
of the joint brief. But, your proposed deadline of noon tomorrow is neither realistic nor fair.

At nearly the close of business on Friday afternoon, we first received a 9-page document containing
Plaintiffs’ side of the draft joint motion with your request that we provide Defendant’s portion of the brief
in less than two business days. And, we received a revised draft of Plaintiffs’ side of the motion just a
couple hours ago (in response to the amended privilege log we sent to you late Friday). It is unreasonable
to expect us to draft a response before the parties were fully at issue and while you were still revising
Plaintiffs’ draft of the motion. And, fair or not, we need more time to do so than the 21 hours you have
proposed.

We will plan to send over our portion of the joint motion on Thursday. We think this is a reasonable
amount of time to respond to Plaintiffs’ arguments.


From: Megan O'Malley <momalley@ompc-law.com>
Sent: Monday, May 22, 2023 2:44 PM
To: Alex Raynor <alex.raynor@ompc-law.com>; Morrell, Benjamin S. <BMorrell@taftlaw.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Re: Lynch v. CCC - amended privilege log

Attached is the updated version in both Word (clean) and a pdf version that shows the tracked changes for
your convenience. You will see that the very few substantive changes are almost entirely within one
paragraph and in the footnote on page 6. Please insert Defendant's response positions into this version.

Thank you,

Megan O'Malley
O'Malley & Madden, P.C.
542 S. Dearborn St., Ste. 660
Chicago, Illinois 60605
phone: 312.697.1382
                                                                            3
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facsimile: 312.697.1384

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From: Alex Raynor <alex.raynor@ompc-law.com>
Sent: Monday, May 22, 2023 12:29 PM
To: Morrell, Benjamin S. <BMorrell@taftlaw.com>; Megan O'Malley <momalley@ompc-law.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Re: Lynch v. CCC - amended privilege log

Counsel,

Thank you for sending us your amended log. As this was sent after hours on Friday, we have just now had an
opportunity to review the entries we reference in our motion to compel. Based on your changes, we will agree
to withdraw our motion as to Entries 94, 113-115, and 117-121. We intend to send you updated language for
the background portion of our motion to account for this change. That said, we will continue to move on
Entries 95-98, 105, 107-110, 116, 123, and 183 as we do not believe these are privileged, even with your
amendments. Since there are no significant changes to the motion, we still expect to receive your portion by
noon tomorrow so that we can get this before the court as soon as possible.

Best,
Alex

From: Morrell, Benjamin S. <BMorrell@taftlaw.com>
Sent: Friday, May 19, 2023 6:11 PM
To: Megan O'Malley <momalley@ompc-law.com>; Alex Raynor <alex.raynor@ompc-law.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Lynch v. CCC - amended privilege log

Counsel,

Attached please find CCC’s amended ESI privilege log. Please let us know if you have any questions or
would like to discuss.

Thanks,

Ben


                 Benjamin S. Morrell
                 Attorney
                 BMorrell@taftlaw.com
                 Dir: 312.840.4489
                 Tel: 312.527.4000 | Fax: 312.527.4011
                 111 E. Wacker Drive, Suite 2600
                 Chicago, Illinois 60601-4208


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